                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,                                   Case No. 25-cv-10676

                   v.

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



DECLARATION OF ANWEN HUGHES IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                     CLASS CERTIFICATION

I, Anwen Hughes, declare under penalty of perjury that the statements that follow are true and

correct:

       1.      I am one of the attorneys for Plaintiffs in the above-captioned case.

       2.      I was admitted to the New Jersey bar in 1998. I graduated from Yale Law School

in 1998 and from Yale College in 1993. I am admitted to practice before the courts of the State

of New Jersey; the United States District Courts for the District of New Jersey and the Eastern

District of Wisconsin; and the United States Court of Appeals for the Third Circuit. I have

appeared, and/or am appearing, pro hac vice in cases before the U.S. District Courts for the

Central District of California, the Western District of Texas, and the District of Massachusetts.

       3.      I have been practicing exclusively in the field of immigration and refugee law

since 1999, all of that time with Human Rights First (formerly known as the Lawyers’

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Committee for Human Rights). Over the course of that time I have held various positions with

the organization, where I currently serve as Director of Legal Strategy for Human Rights First’s

refugee programs.

       4.      I have supervised the representation of thousands of asylum seekers in addition to

those I have represented (and continue to represent) myself before the Asylum Office, the

Immigration Courts, the Board of Immigration Appeals, and the federal courts. This has

included the representation of many detained asylum seekers as well as advice and assistance to

persons under final orders of removal.

       5.      I have advised on class action litigation and other civil suits brought by Human

Rights First and partner organizations to challenge immigration policies affecting the rights of

asylum seekers, including Damus v. Nielsen, No. 1:18-cv-00578-JEB (D.D.C. filed Mar. 15,

2018) (class action challenging DHS policy and practice of categorically detaining asylum

seekers to deter others from seeking asylum); Human Rights First v. Wolf, 1:20-cv-03764-TSC

(D.D.C. filed Dec. 21, 2020, closed Sept. 10, 2021)(challenge to asylum eligibility regulations);

Capitol Area Immigrants’ Rights Coalition v. Trump, 471 F. Supp. 3d 25 (D.D.C. 2020)

(challenge to third-country transit ban to asylum eligibility). I am currently co-counsel in E.Q. v.

DHS, No. 1:25-cv-00791-UNA (D.D.C. filed Mar. 17, 2025) (challenge to rule allowing

adjudication of mandatory bars to asylum in credible fear interviews) and Svitlana Doe v. Noem,

No. 1:25-cv-10495-IT (D. Mass. filed Feb. 28, 2025) (class action challenging rescission of

humanitarian parole programs and suspension of adjudication of parolees’ applications for

immigration status or benefits).

       6.      I have also represented and advised on the representation of non-citizens in

federal appeals of their removal orders, federal habeas petitions, and challenges to the



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adjudication of individual applications for immigration benefits. I direct Human Rights First’s

amicus briefing in cases relevant to refugee rights and have drafted amicus briefs on behalf of

Human Rights First to the federal district courts, courts of appeals, and the United States

Supreme Court.

       7.      I regularly present on asylum and immigration-law topics at national and regional

conferences for groups including the Federal Bar Association and the American Immigration

Lawyers’ Association. I teach asylum and refugee law as an adjunct at New York University

Law School.

       8.      Neither I nor any co-counsel are receiving reimbursement from individual

plaintiffs or class members in this case. All counsel in this case are qualified and capable of

adequately and fairly protecting the interests of the individual plaintiffs and the proposed class

and possess the commitment and resources to prosecute the case as a class action.



                                                      s/Anwen Hughes
                                                      Anwen Hughes
Executed at Jackson Heights, New York,
on March 23, 2025.




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